Case 3:16-cv-01109-NJR-SCW Document 60-2 Filed 12/29/17 Page 1 of 8 Page ID #271



                                        

                                        

                                        




                         Exhibit B
Case 3:16-cv-01109-NJR-SCW Document 60-2 Filed 12/29/17 Page 2 of 8 Page ID #272
Case 3:16-cv-01109-NJR-SCW Document 60-2 Filed 12/29/17 Page 3 of 8 Page ID #273
Case 3:16-cv-01109-NJR-SCW Document 60-2 Filed 12/29/17 Page 4 of 8 Page ID #274
Case 3:16-cv-01109-NJR-SCW Document 60-2 Filed 12/29/17 Page 5 of 8 Page ID #275
Case 3:16-cv-01109-NJR-SCW Document 60-2 Filed 12/29/17 Page 6 of 8 Page ID #276
Case 3:16-cv-01109-NJR-SCW Document 60-2 Filed 12/29/17 Page 7 of 8 Page ID #277
                                                                                                                                    Case 3:16-cv-01109 Document 1-2 Filed 10/03/16 Page 1 of 1 Page ID #19
                                                                                                                                                                                                                                                                                Agent
                                                                                                                                                                                                                                   Manager /                                                 Registered
                                                                                        Establishment          Address            County         Ownership         Status    Type      File Date         Principal Office                           Manager's Address           Change                              Address
                                                                                                                                                                                                                                   President                                                   Agent
                                                                                                                                                                                                                                                                                 Date
Case 3:16-cv-01109-NJR-SCW Document 60-2 Filed 12/29/17 Page 8 of 8 Page ID #278




                                                                                                                                                                                                                                                11278 Los Alamitos Blvd, Apt.
                                                                                         The Social        215 E. Main St.                    M.L.K. Enterprises                                         215 E. Main St.           Garret L.                                                                 514 N. Beadle Dr., Apt 4
                                                                                   1                                              Jackson                        Active       LLC      8/7/2009                                                             216                 7/19/2016    Byron Potts
                                                                                         House (bar)     Carbondale, IL 62901                      L.L.C.                                              Carbondale, IL 62901        Hamilton                                                                   Carbondale, IL 62901
                                                                                                                                                                                                                                                   Los Alamitos, CA 90720
                                                                                                                                                Back Street
                                                                                          The Pony         213 E. Main St.                                                  Domestic                     P.O. Box 2288             Charles G.         P.O. Box 2288                                            519 Highway 146
                                                                                   2                                              Jackson      Entertainment,      Active              7/1/1996                                                                                 7/11/2016 Doris Quick
                                                                                          (dancers)      Carbondale, IL 62901                                                BCA                    Cape Girardeau, MO 63705       Westlund      Cape Girardeau, MO 63705                                      McClure, IL 62957
                                                                                                                                                   LTD
                                                                                                                                                                                                                                                11278 Los Alamitos Blvd, Apt.
                                                                                         Ms. Emily's       107 East Union                        GLH Capital                Domestic           11278 Los Alamitos Blvd, Apt. 21 Garret L.                                                                       93 Iroqouis St.
                                                                                   3                                             Williamson                        Active            7/12/2012                                                              216                7/12/2012 Doris Quick
                                                                                        Cathouse (bar)    Marion, IL 62959                      Enterprise Inc.              BCA                   Los Alamitos, CA 90720       Hamilton                                                                       McClure, IL 62957
                                                                                                                                                                                                                                                   Los Alamitos, CA 90720
                                                                                                                                                                                                                                                11278 Los Alamitos Blvd, Apt.
                                                                                        The Electric       38957 HWY 3                           GLH Capital                Domestic           11278 Los Alamitos Blvd, Apt. 21 Garret L.                                                                       93 Iroqouis St.
                                                                                   4                                             Alexander                         Active            7/12/2012                                                              216                7/12/2012 Doris Quick
                                                                                        Cowboy (bar)      McClure, IL 62957                     Enterprise Inc.              BCA                   Los Alamitos, CA 90720       Hamilton                                                                       McClure, IL 62957
                                                                                                                                                                                                                                                   Los Alamitos, CA 90720
                                                                                                                                                                                                                                                11278 Los Alamitos Blvd, Apt.
                                                                                          The Pony        519 Highway 146                                                                               519 Highway 146            Garret L.                                              Mark S.                309 Division St.
                                                                                   5                                               Union      S.J.C. Illinois LLC Active      LLC      4/22/2015                                                            216               10/21/2015
                                                                                          (dancers)       McClure, IL 62957                                                                             McClure, IL 62957          Hamilton                                               Johnson                Cairo, IL 62914
                                                                                                                                                                                                                                                   Los Alamitos, CA 90720
                                                                                                                                                                                                                                                11278 Los Alamitos Blvd, Apt.
                                                                                        The Tiki Hut       107 Iroquois St.                    107 Iroquois St                                           107 Iroquois St.          Garret L.                                              Mark S.                309 Division St.
                                                                                   6                                             Alexander                         Active     LLC      6/29/2010                                                            216               10/21/2015
                                                                                           (bar)          McClure, IL 62957                         LLC                                                 McClure, IL 62957          Hamilton                                               Johnson                Cairo, IL 62914
                                                                                                                                                                                                                                                   Los Alamitos, CA 90720
                                                                                                                                                                                                                                                11278 Los Alamitos Blvd, Apt.
                                                                                         Dueces Wild       714 N. Carbon                         GLH Capital                Domestic           11278 Los Alamitos Blvd, Apt. 21 Garret L.                                                                       93 Iroqouis St.
                                                                                   7                                             Williamson                        Active            7/12/2012                                                              216                7/12/2012 Doris Quick
                                                                                          (gaming)        Marion, IL 62959                      Enterprise Inc.              BCA                   Los Alamitos, CA 90720       Hamilton                                                                       McClure, IL 62957
                                                                                                                                                                                                                                                   Los Alamitos, CA 90720
                                                                                                                                                                                                                                                11278 Los Alamitos Blvd, Apt.
                                                                                         The Revlon      7965 State Route 146                    GLH Capital                Domestic           11278 Los Alamitos Blvd, Apt. 21 Garret L.                                                                       93 Iroqouis St.
                                                                                   8                                               Union                           Active            7/12/2012                                                              216                7/12/2012 Doris Quick
                                                                                            (bar)        Jonesboro, IL 62952                    Enterprise Inc.              BCA                   Los Alamitos, CA 90720       Hamilton                                                                       McClure, IL 62957
                                                                                                                                                                                                                                                   Los Alamitos, CA 90720
                                                                                                         22400 Lost Acres Rd.                                                                                                                   11278 Los Alamitos Blvd, Apt.
                                                                                         Hunny's Pub                                             GLH Capital                Domestic           11278 Los Alamitos Blvd, Apt. 21 Garret L.                                                                       93 Iroqouis St.
                                                                                   9                       Olive Branch, IL   Alexander                            Active            7/12/2012                                                              216                7/12/2012 Doris Quick
                                                                                            (bar)                                               Enterprise Inc.              BCA                   Los Alamitos, CA 90720       Hamilton                                                                       McClure, IL 62957
                                                                                                                62969                                                                                                                              Los Alamitos, CA 90720
                                                                                                                                                                                                                                                11278 Los Alamitos Blvd, Apt.
                                                                                        Wild Dueces 1 2203 Sycamore Avd.                         GLH Capital                Domestic           11278 Los Alamitos Blvd, Apt. 21 Garret L.                                                                       93 Iroqouis St.
                                                                                   10                                            Alexander                         Active            7/12/2012                                                              216                7/12/2012 Doris Quick
                                                                                          (gaming)      Cairo, IL 62914                         Enterprise Inc.              BCA                   Los Alamitos, CA 90720       Hamilton                                                                       McClure, IL 62957
                                                                                                                                                                                                                                                   Los Alamitos, CA 90720
                                                                                                                                                                                                                                                11278 Los Alamitos Blvd, Apt.
                                                                                        Pit Stop Pizza    592 Highway 146                      East Cape Pizza                                          592 Highway 146            Garret L.                                              Mark S.           309 Division St., POB 826
                                                                                   11                                            Alexander                         Active     LLC      4/16/2012                                                            216               10/21/2015
                                                                                         (restaurant)     McClure, IL 62957                          LLC                                                McClure, IL 62957          Hamilton                                               Johnson                Cairo, IL 62914
                                                                                                                                                                                                                                                   Los Alamitos, CA 90720
                                                                                                                                                                                                                                                11278 Los Alamitos Blvd, Apt.
                                                                                          Lonestar        589 Highway 146                     589 State Hwy 146                                          589 State Hwy 146         Garret L.                                                  Mark S.       309 Division St., POB 826
                                                                                   12                                              Union                        Active        LLC      1/13/2010                                                            216               10/21/2015
                                                                                         Saloon (bar)     McClure, IL 62957                          LLC                                           East Cape Girardeau, IL 62957   Hamilton                                                   Johnson            Cairo, IL 62914
                                                                                                                                                                                                                                                   Los Alamitos, CA 90720
                                                                                                                                                                                                                                                                                                           7077 Orangewood Ave., STE
                                                                                        Fantasy Castle 2800 Walnut Ave.                                                                                  P.O. Box 2288              Info not                                     Info not     Rick C.
                                                                                   13                                       Los Angeles 2800 Walnut LLC            Active     LLC      1/25/2007                                                      Info not available.                                             140
                                                                                          (dancers)   Signal Hill, CA 90755                                                                         Cape Girardeau, MO 63705       available.                                   available.   Brizendine
                                                                                                                                                                                                                                                                                                            Garden Grove, CA 92841
                                                                                                                                                                                                                                                                                            Business
                                                                                         Unknown at                                            Dead Presidents,                                          P.O. Box 2288             Charles G.         P.O. Box 2288                                        701 S. Carson St., STE 200
                                                                                   14                                                                              Active     LLC      1/31/2007                                                                                2/19/2009    Filings
                                                                                          this time.                                                LLC                                             Cape Girardeau, MO 63705       Westlund      Cape Girardeau, MO 63705                                    Carson City, NV 89701
                                                                                                                                                                                                                                                                                          Incorporated
                                                                                                                                                                                                                                                                                            Business
                                                                                         Unknown at                                            Repeating Rifle,                                          P.O. Box 2288             Charles G.         P.O. Box 2288                                        701 S. Carson St., STE 200
                                                                                   15                                                                              Active     LLC      1/31/2007                                                                                2/19/2009    Filings
                                                                                          this time.                                                LLC                                             Cape Girardeau, MO 63705       Westlund      Cape Girardeau, MO 63705                                    Carson City, NV 89701
                                                                                                                                                                                                                                                                                          Incorporated
                                                                                                                                                                                                                                                                                            Business
                                                                                         Unknown at                                            Silent Strippers,                                         P.O. Box 2288             Charles G.         P.O. Box 2288                                        701 S. Carson St., STE 200
                                                                                   16                                                                              Active     LLC      1/31/2007                                                                                2/19/2009    Filings
                                                                                          this time.                                                 LLC                                            Cape Girardeau, MO 63705       Westlund      Cape Girardeau, MO 63705                                    Carson City, NV 89701
                                                                                                                                                                                                                                                                                          Incorporated
                                                                                                           1209 US 45 ALT
                                                                                          The Pony       Starkville, MS 39759                 Mississippi Adult                                          P.O. Box 2288             Charles G.         P.O. Box 2288                            Mike        1209 Highway 45 Alternate N
                                                                                   17                                            Oktibbeha                         Active     LLC      7/3/2008                                                                                 7/3/2008
                                                                                          (dancers)       (also listed at West                Properties, LLC                                       Cape Girardeau, MO 63705       Westlund      Cape Girardeau, MO 63705                    Schaefgen        West Point, MS 39773
                                                                                                              Point, MS)
                                                                                         Unknown at                                            The Pony Bama,                                                                      Charles G.                                                 Miguel           141 Ware Dr NE
                                                                                   18                                                                              Exists     LLC      3/25/2009           Not provided                                 Not Provided            2/25/2009
                                                                                          this time.                                                LLC                                                                            Westlund                                                   Montijo         Huntsville, AL 35811
                                                                                                                                                                                                                                                                                                           Exhibit A
                                                                                                                                                                                                            Page 1of 1
